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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
                                                  Crim. No.: 05-80187
v.                                                HONORABLE VICTORIA A. ROBERTS

D-1 ALEKSANDR MAKSIMENKO,
D-2 MICHAIL ARONOV,

           Defendants.
_________________________________/

                                  OPINION AND ORDER

I.     INTRODUCTION

       This matter is before the Court on the Government’s Motion for Continuance

[Doc. 21]. For the reasons stated, the Court GRANTS the Government’s Motion.

II.    BACKGROUND

       Aleksandr Maksimenko and Michail Aronov (collectively “Defendants”) are each

indicted on one count of Obtaining Labor and Services Through the Use of Threats and

Physical Restraint in violation of 18 U.S.C. § 1589. After a hearing on March 31, 2005,

the Court affirmed a magistrate judge’s order detaining Defendants pending trial. At the

same hearing, when asked if the May 3, 2005 trial date was realistic, the Government

responded that it was not, unless the Court wanted to have a series of trials, because

additional allegations against Defendants had surfaced. The Government further

indicated it intended to present the additional allegations to the grand jury in order to

broaden the indictment against Defendants and that it intended to invoke international

assistance in gathering evidence, which would most assuredly require a motion for
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continuance of trial. Indeed, the Government’s April 8th continuance motion seeking to

delay trial until October 3, 2005 was no surprise. During a conference call conducted

on April 19, 2005, the Court notified the parties that the motion would be decided

without a hearing.

III.   APPLICABLE LAW AND ANALYSIS

       A.     The Government’s Request For Five Month Continuance Pursuant to 18
              U.S.C. § 3161(h)(9) Is Appropriate

       The Speedy Trial Act permits a criminal trial to be delayed up to one year if the

Court finds by “a preponderance of the evidence that an official request... has been

made for evidence of any such offense and that it reasonably appears, or reasonably

appeared at the time the request was made, that such evidence is, or was, in such

foreign country.” 18 U.S.C. § 3161(h)(9). The Act refers to a different section, 18

U.S.C. § 3292, for the definition of the term “official request,” which is defined as:

       a letter rogatory, a request under a treaty or convention, or any other request for
       evidence made by a court of the United States or an authority of the United
       States having criminal law enforcement responsibility, to a court or other
       authority of a foreign country.

18 U.S.C. § 3292(d).

       The Government filed a Declaration of Senior Counsel Rex Young on April 19,

2005. (Decl. Rex Young, Apr. 18, 2005, hereinafter “Young Decl.”). Young’s

declaration states that on April 18, 2005, a request was submitted to the Ukraine

pursuant to the Treaty on Mutual Legal Assistance in Criminal Matters Between the

United States of America and Ukraine, in force February 27, 2001, 1998 U.S.T. LEXIS

203 (“MLAT”). Young Decl. at ¶ 3. Young notes that “[t]he MLAT request seeks the

assistance of the Ukrainian authorities in, among other things: conducting witness

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interviews; obtaining a host of business, banking, money transfer, travel manifests and

immigration records; and in acquiring criminal histories (if any) for subjects and victims

in the instant case.” Id. at ¶ 6. Young opines that, based on his experience, “the

evidence requested by the prosecution team can be obtained from Ukranian [sic]

sources with the assistance of Ukranian [sic] law enforcement authorities” and “that it

will take several months... for the Ukrainian authorities to obtain and transmit the

information requested in the government’s MLAT request.” Id. Young’s declaration is

uncontested. Therefore, the Court finds that the Government has met the requirements

for a continuance by a preponderance of the evidence pursuant to 18 U.S.C. §

3161(h)(9). The five month period will be “excluded in computing the time within which

the trial” of Defendants must commence pursuant to the Speedy Trial Act. 18 U.S.C. §

3161(h)(9).1

       B.      Defendants Have Offered Insufficient Evidence To Suggest a Sixth
               Amendment Violation

       Defendants assert that even if the Government’s request comports with the

Speedy Trial Act, it, nonetheless, offends their Sixth Amendment right to a speedy trial.

Specifically, Defendants argue: “If the Government’s request for a lengthy continuance

is granted, both defendants will be severely prejudiced by a long period of


       1
        The Court also calculates 49 additional days of excludable delay. Pursuant to
18 U.S.C. § 3161(h)(1)(F), the period between briefing and hearing on Defendants’
challenge of the magistrate judge’s Order of Detention is excludable (Mar. 4 through
Mar. 31: 27 days), as well as the briefing period relating to the Government’s Motion for
Continuance (Apr. 8 through Apr. 20: 16 days). Pursuant to 18 U.S.C. § 3161(h)(1)(J),
the time under which the motion was under advisement of the Court is excludable (Apr.
20 through Apr. 26: 6 days). Also, pursuant to 18 U.S.C. § 3161(h)(1)(E) the period of
Defendants’ interlocutory appeal of this Court’s Order of Detention may also be
excludable.

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incarceration...” Def. Br. Opp’n Mo. at p. 2. Citing Barker v. Wingo, 407 U.S. 514, 532-

533 (1972), Defendants opine that the prevention of oppressive pretrial incarceration is

one of the most important purposes of the Sixth Amendment’s right to a speedy trial.

Def. Br. Opp’n Mo. at p. 1-2. Defendants also argue that the Government’s request is

“vague and speculative”2 and this case is not so complex as to justify a continuance.

       Whether a defendant’s Sixth Amendment right to a speedy trial has been violated

is a related, but separate, question from whether a Speedy Trial Act violation occurred.

See United States v. White, 985 F.2d 271, 274-276 (6th Cir. 1993). “The Sixth

Amendment guarantees that in all criminal prosecutions, the accused shall enjoy the

right to a speedy and public trial.” United States v. Schreane, 331 F.3d 548, 553 (6th

Cir. 2003). Four factors must be balanced in a speedy trial analysis. See Barker v.

Wingo, 407 U.S. 514, 530 (1972). These factors are: (1) whether the delay was

uncommonly long; (2) the reason for the delay; (3) whether the defendant asserted his

right to a speedy trial; and (4) whether prejudice resulted to the defendant. Id. “[N]o

one factor constitutes a ‘necessary or sufficient condition to the finding of a deprivation

of the right of speedy trial.’” Schreane, 331 F.3d at 553 (quoting Barker, 407 U.S. at

533). “Rather, they are related factors and must be considered together with such other

circumstances as may be relevant.” Id. However, unless “there is some delay which is

presumptively prejudicial, there is no necessity for inquiry into the other factors that go

into the balance.” Cain v. Smith, 686 F.2d 374, 381 (6th Cir. 1982)(quoting Barker, 407

U.S. at 530).


       2
         Defendants’ assertion that the Government’s request is vague and speculative
is rebutted by the Young Declaration, supra.

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              1.     Five Month Delay Is Not Presumptively Prejudicial

       A delay approaching one year is generally considered presumptively prejudicial.

Doggett v. United States, 505 U.S. 647, 652 n.1 (1992). Whether a delay is sufficient to

constitute presumptive prejudice “depend[s] on the nature of the charges.” Id.

       In this case, Defendants were indicted on February 16, 2005. A trial date of May

3, 2005 had been set. The Government seeks a five month delay. Without citing one

case on point to support their proposition, Defendants assert that a five month delay

would be unreasonable and prejudicial.

       Defendants cite only Barker to support their argument that a continuance would

violate the Sixth Amendment. In Barker, the trial was delayed for five years and Barker

was jailed for ten months pending trial. However, the Supreme Court found only

minimal prejudice and no Sixth Amendment speedy trial violation. Barker, 407 U.S. at

533-534.

       Defendants are charged with Obtaining Labor and Services Through the Use of

Threats and Physical Restraint in violation of 18 U.S.C. § 1589. The case involves

“allegation of an international conspiracy to traffic women across two continents,

including [allegations] of forced labor, sexual abuse, immigration and visa fraud, alien

smuggling and harboring, and money laundering.” Gov’t Br. Supp. Mo. at p. 5. The

Government asserts that it will use the five month delay to obtain evidence from the

Ukraine. Given the circumstances, a five month delay in a case of this complexity is not

“unreasonable enough to trigger the Barker inquiry. United States v. Cope, 312 F.3d

757, 778 (6th Cir. 2002) (holding an eight-month-and-three-week delay was not

unreasonable enough to trigger the Barker inquiry in a two-defendant, eleven-count

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case that involves multiple allegations of attempted murder); see also United States v.

Schlei, 122 F.3d 944, 986-989 (11th Cir. 1997)(finding no violation of Sixth Amendment

right to speedy trial after full Barker inquiry where two year delay was in part based on

the government’s 18 U.S.C. 3161(h)(9) request to depose individuals in Japan); United

States v. White, 985 F.2d 271, 275 (6th Cir. 1993) (“This six-and-one-half month delay

does not rise to the level of constitutional violation.”); United States v. Holyfield, 802

F.2d 846 (6th Cir. 1986), cert. denied, 479 U.S. 1090 (1987) (finding five month delay

was not excessive).

IV.     CONCLUSION

        For the reasons stated, the Court GRANTS the Government’s Motion for

Continuance. It is further ordered that the five month time period shall constitute

excludable delay for the purposes of the Speedy Trial Act. An amended Scheduling

Order will issue.

        IT IS SO ORDERED.


                                                   s/Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge

Dated: April 26, 2005

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 April 26, 2005.

 s/Linda Vertriest
 Deputy Clerk




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